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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

UNITED STATES OF AMERICA

v.                                                       Case No: 6:23-cr-08-RBD-LHP

COURY ROBERT BADNELL,
JORDAN BRIAN BURGOS,
ANTHONY ROBERTO
HUTCHINSON and
DEANDRE DEVANTE LEVY


                                                    AUSA: Ranganath Manthripragada

                                            Defense Attorney: Erin Hyde, FPD (Badnell)
                                                         Michael Nielsen, CJA (Burgos)
                                               Thomas Sommerville, CJA (Hutchinson)
                                                            Andrew Searle, CJA (Levy)

       JUDGE:     ROY B. DALTON, JR.      DATE AND TIME:           March 9, 2023
                     United States                            10:33 A.M. – 10:42 A.M.
                     District Judge

      DEPUTY        Ann Lindstrand           REPORTER:               Amie First
      CLERK:                                                  amiefirst.courtreporter@
                                                                     gmail.com
 INTERPRETER:           None             PRETRIAL/PROB:           No Appearance

     TOTAL TIME        9 minutes


                                      CLERK’S MINUTES
                                   STATUS CONFERENCE

Case called. Appearances made by counsel.

Defendants’ Joint Oral Motion to Continue Trial is GRANTED, with no objection from
Government counsel. Defense counsel for Mr. Hutchinson and Mr. Levy filed waivers
of speedy trial through August 2023 trial term (Docs. 60 and 58). Defense counsel for




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Mr. Badnell and Mr. Burgos to file waivers of speedy trial through end of August 2023
trial term.

After considering all the factors, including those set forth in 18 U.S.C. § 3161(h)(7)(B),
and for the reasons stated on the record at the status conference, the Court finds that the
ends of justice served by granting such a continuance outweigh the best interest of the
public and the defendant in a speedy trial. The Court, therefore, determines that the
time from today 3/9/2023 until and including 8/31/2023, shall be "excludable time"
pursuant to 18 U.S.C. § 3161(h).

Jury trial set for August 7, 2023 trial term.

Status Conference set for June 8, 2023 at 10:00 AM.

New motions deadline is May 12, 2023. Government responses due May 26, 2023.

New plea deadline is July 20, 2023.

Court is adjourned.




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